64 F.3d 658
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald Darrell NEELY, Petitioner-Appellant,v.WARDEN, BUCKINGHAM CORRECTIONAL CENTER;  Attorney General ofthe Commonwealth of Virginia, Respondents-Appellees.
    No. 95-6757.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1995.Decided Aug. 18, 1995.
    
      Ronald Darrell Neely, Appellant Pro Se.  Robert H. Anderson, III, Office of the Attorney General of Virginia, Richmond, VA, for Appellees.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order and order on reconsideration denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Neely v. Warden Buckingham Corr.  Ctr., No. CA-94-433-R (W.D.Va. Feb. 28 &amp; Apr. 17, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    